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10 Attorneys for United States of America

11                                    UNITED STATES DISTRICT COURT

12                                 NORTHERN DISTRICT OF CALIFORNIA

13                                            SAN JOSE DIVISION

14   UNITED STATES OF AMERICA,                        ) Case No. CR 18-258 EJD
                                                      )
15           Plaintiff,                               ) JOINT STATUS REPORT
                                                      )
16      v.                                            ) Trial Date: July 13, 2021
                                                      )
17   ELIZABETH HOLMES,                                )
                                                      )
18           Defendant.                               )
                                                      )
19

20           The government and Defendant Elizabeth Holmes respectfully submit the following Joint Status
21 Report.

22           On June 14, 2018, the Grand Jury returned an indictment in this matter. ECF No. 1.
23           On June 28, 2019, the Court set the matter for trial for July 28, 2020. ECF No. 83.
24           On April 15, 2020, after receiving a Joint Status Memorandum [ECF No. 372] and conducting a
25 telephone conference due to COVID-19, the Court reset the trial date to October 27, 2020. ECF No.

26 374.

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 1           On July 20, 2020, the Court “conducted a status conference . . . at which Defendant Holmes

 2 requested that the trial currently set for October 27, 2020 be continued in light of the ongoing COVID-

 3 19 pandemic and the need for effective preparation for trial due to the complexities of the case.” ECF

 4 No. 484. On August 11, 2020, after receiving a joint proposed schedule from the parties, and for

 5 reasons set forth at an August 11, 2020 status conference, the Court continued the trial date to March 9,

 6 2021. ECF No. 484.

 7          On December 18, 2020, the Court issued a Revised Order Setting Case Schedule. ECF No. 650.

 8 After analyzing public health conditions arising from the COVID-19 pandemic, and recognizing the

 9 “great inconvenience to victims who would like their day in court, as well as Defendant who wishes a
10 speedy opportunity to defend against the charges,” the Court continued the trial to July 13, 2021. ECF

11 No. 650.

12          On March 2, 2021, counsel for Defendant advised the government that Defendant is pregnant,

13 with an expected due date in July 2021. The parties have met and conferred, and both parties agree that,

14 in light of this development, it is not feasible to begin the trial on July 13, 2021, as currently scheduled.

15 In light of Defendant’s pregnancy, the parties stipulate and agree, and respectfully request that the Court

16 order, that the trial begin with jury selection on August 31, 2021.

17          The Court is currently scheduled to hear motions in limine beginning May 4, 2021. The parties

18 are not requesting any adjustment to that hearing. The parties also request no adjustment to the dates

19 currently set for (1) proposed jury instructions, juror questionnaire, and voir dire questions (May 27,

20 2021), (2) the pretrial conference statement (June 3, 2021), and (3) the pretrial conference (June 15,

21 2021).

22          The parties stipulate and agree, and respectfully request that the Court order, that the time from

23 July 13, 2021, to August 31, 2021, should be excluded under the Speedy Trial Act. The parties stipulate

24 and agree, and respectfully request that the Court order, that excluding time until and including August

25 31, 2021, will allow for the effective preparation of counsel, see 18 U.S.C. § 3161(h)(7)(B)(iv), and is

26 appropriate under 18 U.S.C. § 3161(h)(4). The parties further stipulate and agree, and respectfully

27 request that the Court order, that the ends of justice served by excluding the time from July 13, 2021,

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 1 through August 31, 2021, from computation under the Speedy Trial Act outweigh the best interests of

 2 the public and the Defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

 3

 4 DATED: March 12, 2021                                       Respectfully submitted,

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                                                               Acting United States Attorney
 6
                                                               /s/ Robert Leach
 7                                                             ROBERT S. LEACH
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     DATED: March 12, 2021                                     WILLIAMS & CONNOLLY LLP
11
                                                               /s/ Lance Wade
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